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Co-Counsel for Marc S. Kirschner, as Litigation
Trustee of the Highland Litigation Sub-Trust
                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
 In re:
                                                   Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P.,1
                                                   Case No. 19-34054-sgj11
                   Reorganized Debtor.

 MARC S. KIRSCHNER, AS LITIGATION
 TRUSTEE OF THE LITIGATION SUB-TRUST,

                   Plaintiff,

              v.                                   Adv. Pro. No. 21-03076-sgj
 JAMES D. DONDERO; MARK A. OKADA;                  APPLICATION FOR
 SCOTT ELLINGTON; ISAAC LEVENTON;                  ENTRY OF DEFAULT
 GRANT JAMES SCOTT III; STRAND                     AGAINST DEFENDANTS
 ADVISORS, INC.; NEXPOINT ADVISORS,                MASSAND CAPITAL, LLC
 L.P.; HIGHLAND CAPITAL MANAGEMENT
 FUND ADVISORS, L.P.; DUGABOY                      AND MASSAND
                                                   CAPITAL, INC.
 INVESTMENT TRUST AND NANCY                        PURSUANT TO RULE
 DONDERO, AS TRUSTEE OF DUGABOY                    55(a) OF THE FEDERAL
 INVESTMENT TRUST; GET GOOD TRUST                  RULES OF CIVIL
 AND GRANT JAMES SCOTT III, AS                     PROCEDURE
 TRUSTEE OF GET GOOD TRUST; HUNTER
 MOUNTAIN INVESTMENT TRUST; MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1 AND LAWRENCE
 TONOMURA AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1; MARK & PAMELA

          1
         The last four digits of the Reorganized Debtor’s taxpayer identification number are
(8357). The Reorganized Debtor is a Delaware limited partnership. The Reorganized Debtor’s
headquarters and service address are 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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OKADA FAMILY TRUST – EXEMPT TRUST
#2 AND LAWRENCE TONOMURA IN HIS
CAPACITY AS TRUSTEE OF MARK &
PAMELA OKADA FAMILY TRUST –
EXEMPT TRUST #2; CLO HOLDCO, LTD.;
CHARITABLE DAF HOLDCO, LTD.;
CHARITABLE DAF FUND, LP.; HIGHLAND
DALLAS FOUNDATION; RAND PE FUND I,
LP, SERIES 1; MASSAND CAPITAL, LLC;
MASSAND CAPITAL, INC.; AND SAS ASSET
RECOVERY, LTD.,

            Defendants.
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       To the Clerk of the United States Bankruptcy Court for the Northern District of Texas:

       Plaintiff Marc S. Kirschner (the “Litigation Trustee”), as Litigation Trustee of the

Litigation Sub-Trust (the “Trust”) established pursuant to the Fifth Amended Plan of

Reorganization (the “Plan”) of Highland Capital Management L.P. (“HCMLP” or the

“Reorganized Debtor”) (Bankruptcy Docket No. 1472), through his undersigned counsel, hereby

requests pursuant to Rule 7055-1(b) of the Local Bankruptcy Rules for the Northern District of

Texas and Rule 55(a) of the Federal Rules of Civil Procedure, made applicable by Rule 7055 of

the Federal Rules of Bankruptcy Procedure, that the Clerk enter the default of Defendants

Massand Capital, LLC and Massand Capital, Inc. (collectively, the “Massand Defendants”), for

failure to plead or otherwise defend against the action in a timely manner.

       (1)     As shown by the proofs of service previously filed with this Court, the Massand

Defendants were served pursuant to Rule 4 of the Federal Rules of Civil Procedure on May 20,

2022 (Docket No. 160).

       (2)     The applicable time limit for the Massand Defendants to appear or otherwise

respond to this action, according to agreement between the parties and related orders by this

Court, expired on July 11, 2022.

       The Massand Defendants have failed to plead or otherwise respond to the Amended

Complaint. This request is based on the attached Declaration of Plaintiff’s Attorney Deborah J.

Newman.
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Dated: August 10, 2022                      Respectfully submitted,
       Dallas, Texas
                                            SIDLEY AUSTIN LLP
                                            /s/ Juliana L. Hoffman
                                            Paige Holden Montgomery
                                            Juliana L. Hoffman
                                            2021 McKinney Avenue
                                            Suite 2000
                                            Dallas, Texas 75201
                                            Telephone: (214) 981-3300
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                                            -and-

                                            QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
                                            Susheel Kirpalani (admitted pro hac vice)
                                            Deborah J. Newman (admitted pro hac vice)
                                            Robert S. Loigman (admitted pro hac vice)
                                            Benjamin I. Finestone (admitted pro hac vice)
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                                            Counsel for the Litigation Trustee
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document was sent

via electronic mail via the Court’s ECF system to parties authorized to receive electronic notice in

this case on August 10, 2022.

                                                     /s/ Juliana L. Hoffman
                                                     Juliana L. Hoffman
